Case 3:20-cr-00012-TMB-DMS Document 160 Filed 11/06/20 Page 1 of 18
Case 3:20-cr-00012-TMB-DMS Document 160 Filed 11/06/20 Page 2 of 18
Case 3:20-cr-00012-TMB-DMS Document 160 Filed 11/06/20 Page 3 of 18
Case 3:20-cr-00012-TMB-DMS Document 160 Filed 11/06/20 Page 4 of 18
Case 3:20-cr-00012-TMB-DMS Document 160 Filed 11/06/20 Page 5 of 18
Case 3:20-cr-00012-TMB-DMS Document 160 Filed 11/06/20 Page 6 of 18
Case 3:20-cr-00012-TMB-DMS Document 160 Filed 11/06/20 Page 7 of 18
Case 3:20-cr-00012-TMB-DMS Document 160 Filed 11/06/20 Page 8 of 18
Case 3:20-cr-00012-TMB-DMS Document 160 Filed 11/06/20 Page 9 of 18
Case 3:20-cr-00012-TMB-DMS Document 160 Filed 11/06/20 Page 10 of 18
Case 3:20-cr-00012-TMB-DMS Document 160 Filed 11/06/20 Page 11 of 18
Case 3:20-cr-00012-TMB-DMS Document 160 Filed 11/06/20 Page 12 of 18
Case 3:20-cr-00012-TMB-DMS Document 160 Filed 11/06/20 Page 13 of 18
Case 3:20-cr-00012-TMB-DMS Document 160 Filed 11/06/20 Page 14 of 18
Case 3:20-cr-00012-TMB-DMS Document 160 Filed 11/06/20 Page 15 of 18
Case 3:20-cr-00012-TMB-DMS Document 160 Filed 11/06/20 Page 16 of 18
Case 3:20-cr-00012-TMB-DMS Document 160 Filed 11/06/20 Page 17 of 18
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Case 3:20-cr-00012-TMB-DMS Document 160 Filed 11/06/20 Page 18 of 18
